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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    SHAON ROBINSON,                                    Case No. 3:15-cv-05421-RS (KAW)
                                   8                   Plaintiff,                          ORDER REQUIRING DEFENDANT TO
                                                                                           FILE A SUPPLEMENTAL
                                   9            v.                                         DECLARATION IN SUPPORT OF
                                                                                           MOTION FOR RECONSIDERATION
                                  10    THE CHEFS' WAREHOUSE,
                                                                                           Re: Dkt. No. 85
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          On June 1, 2017, the Court held a hearing on Defendant’s motion for reconsideration,

                                  14   during which defense counsel Michele Beilke represented that Mr. Hoffman had sent her an email

                                  15   saying that her defamatory and theatrical motions would result in her client paying more money

                                  16   for pursuing this motion. The Court wishes to consider this communication, so Ms. Beilke is

                                  17   ordered to file a supplemental declaration, with the email communication attached as an exhibit,

                                  18   within five days of this order. The declaration is limited to this single document, and any other

                                  19   emails in that email “chain.” Mr. Hoffman is permitted to respond to the email by way of

                                  20   supplemental declaration within two days.

                                  21          IT IS SO ORDERED.

                                  22   Dated: June 2, 2017
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                                  23                                                        KANDIS A. WESTMORE
                                                                                            United States Magistrate Judge
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